Case: 24-1739   Document: 00118224845    Page: 1    Date Filed: 12/11/2024   Entry ID: 6687162



                                        No. 24-1739
                        UNITED STATES COURT OF APPEALS
                                For The First Circuit
     ST. DOMINIC ACADEMY, d/b/a Roman Catholic Bishop of Portland, a corporation
   sole; ROMAN CATHOLIC BISHOP OF PORTLAND; KEITH RADONIS, on their own
   behalf and as next friend of children K.Q.R, L.R.R., and L.T.R; VALORI RADONIS, on
           their own behalf and as next friend of children K.Q.R, L.R.R., and L.T.R.,
                                   Plaintiffs-Appellants,
                                             v.
          A. PENDER MAKIN, in their personal capacity and official capacity as the
    Commissioner of the Maine Department of Education; JEFFERSON ASHBY, in their
   personal capacity and official capacity as the Commissioner of the Maine Human Rights
    Commission; EDWARD DAVID, in their personal capacity and official capacity as the
   Commissioner of the Maine Human Rights Commission; JULIE ANN O'BRIEN, in their
   personal capacity and official capacity as the Commissioner of the Maine Human Rights
    Commission; MARK WALKER, in their personal capacity and official capacity as the
    Commissioner of the Maine Human Rights Commission; THOMAS L. DOUGLAS, in
    their personal capacity and official capacity as the Commissioner of the Maine Human
                                      Rights Commission,
                                  Defendants-Appellees.

        ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
              DISTRICT OF MAINE (CASE NO. 2:23-CV-00246-JAW)

                 SUR-REPLY BRIEF OF DEFENDANTS-APPELLEES

                                              AARON M. FREY
                                              Attorney General

                                              CHRISTOPHER C. TAUB
                                              Chief Deputy Attorney General
                                              SARAH A. FORSTER
                                              Assistant Attorney General
                                              Six State House Station
                                              Augusta, ME 04333-0006
                                              (207) 626-8800
                                              Attorneys for Defendants-Appellees
Case: 24-1739        Document: 00118224845                   Page: 2          Date Filed: 12/11/2024                Entry ID: 6687162




                                                TABLE OF CONTENTS

      Table of Authorities ........................................................................................ ii

      Introduction ..................................................................................................... 1

      Argument......................................................................................................... 1

      Conclusion ...................................................................................................... 5

      Certificate of Service ...................................................................................... 7




                                                                    i
Case: 24-1739       Document: 00118224845                  Page: 3         Date Filed: 12/11/2024               Entry ID: 6687162




                                            TABLE OF AUTHORITIES


      CASES

      United States v. Dunston, 851 F.3d 91 (1st Cir. 2017) .........................................1


      STATUTES

      5 M.R.S. § 4603 ....................................................................................................2

      5 M.R.S. § 8052(1) ...............................................................................................3

      5 M.R.S. § 8052(7)(B) ..........................................................................................3

      5 M.R.S. § 8053 ....................................................................................................3

      5 M.R.S. § 8056(1)(A) ..........................................................................................3

      Maine Pub. L. 2023, ch. 188 .................................................................................4




                                                                 ii
Case: 24-1739   Document: 00118224845         Page: 4     Date Filed: 12/11/2024     Entry ID: 6687162




                                           Introduction

            Appellants attached to their Reply Brief an addendum containing two

      documents obtained via Maine’s Freedom of Access Act and never presented to

      the district court. 1 Appellants concede that these documents “are not part of the

      record on appeal,” Reply Brief, 6 n.2, and they do not claim that the documents are

      capable of judicial notice. Further, because this is the first time these documents

      have appeared in this litigation, there is no testimony or other evidence to put these

      documents in context. The Court should thus disregard them. If the Court were to

      consider them, the documents have no bearing on any issue in dispute. One

      document is proposed revisions to a rule sent to legal counsel for review and never

      formally proposed. The other document simply confirms what Appellees told the

      district court – that it was litigation that brought to light a definitional oddity in the

      Maine Human Rights Act (“MHRA”) making single-sex schools exempt from

      prohibitions against most forms of discrimination.

                                             Argument

            “As a general matter, [this Court] do[es] not consider evidentiary materials

      that were not proffered in the district court.” United States v. Dunston, 851 F.3d


      1
        Appellees submit this brief pursuant to the Order dated December 2, 2024
      permitting Appellees to file a “conditional sur-reply of up to five pages setting
      forth any points they would make in response to the addendum, should the court
      take judicial notice of it.”
Case: 24-1739   Document: 00118224845       Page: 5    Date Filed: 12/11/2024     Entry ID: 6687162




      91, 105 (1st Cir. 2017). Appellants did not present below the two documents

      attached to their Reply Brief, nor do they claim that they were unaware of the

      documents until now. It was Appellants who decided to take an immediate appeal

      of the denial of their preliminary injunction motion rather than seeking to further

      develop the factual record. The Appellees have had no opportunity to provide

      factual context or explanation for the documents. Finally, Appellants make no

      effort to argue that the Court can take judicial notice of the documents.

      Accordingly, the Court should not consider them.

            If the Court were to consider the documents, they do not bolster any of

      Appellants’ arguments. The first document is an email chain with proposed

      revisions to a rule addressing educational discrimination. Reply Brief, Ex. A.

      Pursuant to 5 M.R.S. § 4603, the Commissioner of the Department of Education

      (“DOE”) and the Maine Human Rights Commission (“MHRC”) have joint rule-

      making authority to promulgate rules implementing the MHRA’s educational

      provisions. On March 22, 2022, counsel for the MHRC sent to a DOE Associate

      Commissioner proposed revisions to the existing joint rule. The DOE Associate

      Commissioner then forwarded the draft to the Assistant Attorney General (“AAG”)

      assigned to represent DOE (and who is also one of the undersigned counsel) and

      asked the AAG to review the draft. The document does not reflect what feedback,

      if any, the AAG provided.



                                                2
Case: 24-1739   Document: 00118224845        Page: 6    Date Filed: 12/11/2024     Entry ID: 6687162




            Appellants focus on one provision in the draft requiring that human sexuality

      courses include information “that treats all sexual orientations and gender identities

      as equally valid” and declaring it to be a violation of the MHRA to suggest that

      one sexual orientation or gender identity is superior to another. Reply Brief, 6-7

      n.2. Appellants argue that this belies Appellees’ claim that the MHRA does not

      “limit St. Dominic’s expression” or prevent St. Dominic from “teach[ing] students

      however it likes.” Id.

            The obvious flaw in this argument is that the proposed revisions are just that

      – proposed revisions. Appellants concede that the revisions have not been

      adopted. Id. Nor is there anything suggesting that the revised version of the rule

      will be adopted. It was sent to legal counsel for review in May 2022. See Ex. A.

      Significantly, more than 2 ½ years later, the rule has not been promulgated. And

      because this is the first time this document has appeared in the litigation, there is

      no factual context. If Appellees had been given an opportunity to provide that

      context, they could have addressed such matters as whether the MHRC or DOE

      Commissioner ever approved the proposed revisions, whether the revised rule was

      ever noticed for public comment, 5 M.R.S. §§ 8052(1), 8053, or whether the

      Attorney General reviewed the rule as to form and legality. 5 M.R.S. §§

      8052(7)(B), 8056(1)(A).




                                                 3
Case: 24-1739   Document: 00118224845       Page: 7    Date Filed: 12/11/2024     Entry ID: 6687162




            Nor does the document support Appellants’ claim that the proposed

      revisions reflect the views of the MHRC regarding the scope of the MHRA. The

      document makes clear that it was MHRC’s counsel who drafted the revisions. See

      Ex. A. There is nothing suggesting that the MHRC itself provided input or was

      involved in preparing or reviewing the proposed revisions.

            The second document is an email from the MHRC’s counsel to undersigned

      counsel attaching a draft bill eliminating the exclusion of single-sex schools from

      the definition of “educational institution.” See Reply Brief, Ex. B. As Appellees

      explained in their initial brief, only discrimination based on sex was prohibited

      when the MHRA’s education provisions were first enacted. Appellant Br., 8. The

      definition of “educational institution” excluded single-sex schools, presumably so

      that such schools could continue to exist. Id. But as other forms of educational

      discrimination were prohibited, the definition was, for the most part, not updated.

      This was likely a mistake inasmuch as it is difficult to imagine any rational basis

      for allowing single-sex schools to discriminate based on, for example, race and

      national origin. The bill attached to MHRC’s counsel’s email struck the exclusion

      of single-sex schools from the definition of “educational institution,” and the bill

      was subsequently enacted. Maine Pub. L. 2023, ch. 188.

            The district court rejected Appellants’ claim that the change to the definition

      was a “litigation-driven decision” and noted that Appellants presented no evidence



                                                4
Case: 24-1739    Document: 00118224845         Page: 8     Date Filed: 12/11/2024       Entry ID: 6687162




      rebutting Appellees’ explanation that the change was “to correct a ‘mistake’ in the

      statutory scheme.” ADD60. Appellants now try to present such evidence, but it

      gets them nowhere. Below, Appellants readily acknowledged that it was related

      litigation that brought the mistake to light. PI Opp., at 14 (ECF 25) (“While

      Plaintiffs refer to this as a ‘litigation-driven decision,’ . . . it is clear, as discussed

      above, that the exemption for single-sex schools was simply a mistake, which has

      now been corrected. The correction was ‘litigation-driven’ only in the sense that

      litigation brought the mistake to light.”). Specifically, on March 27, 2023,

      Crosspoint Church filed a lawsuit challenging application of the MHRA’s

      educational provisions to the religious school it operates and alleging that the

      provisions were not generally applicable because single-sex schools were mostly

      exempt. See Complaint, ¶ 105 in Crosspoint Church v. Makin, 1:23-cv-00146,

      ECF No. 1. This led to immediate efforts to amend the definition of “educational

      institution,” not as a litigation tactic, but to correct what was obviously a mistake.

                                              Conclusion

             For the reasons discussed above, Appellees respectfully request that the

      Court affirm the district court’s denial of St. Dominic’s preliminary injunction

      motion.




                                                    5
Case: 24-1739   Document: 00118224845   Page: 9    Date Filed: 12/11/2024   Entry ID: 6687162




      Dated: December 11, 2024                    Respectfully submitted,
      Augusta, Maine
                                                  AARON M. FREY
                                                  Attorney General

                                                  s/ Christopher C. Taub
                                                  CHRISTOPHER C. TAUB
                                                  Chief Deputy Attorney General
                                                  Bar Number 65217
                                                  SARAH A. FORSTER
                                                  Bar Number 63176
                                                  Six State House Station
                                                  Augusta, ME 04333-0006
                                                  (207) 626-8800
                                                  Attorneys for Defendants-Appellees




                                           6
Case: 24-1739   Document: 00118224845       Page: 10      Date Filed: 12/11/2024   Entry ID: 6687162




                                 CERTIFICATE OF SERVICE

             Pursuant to Fed. R. App. P. 25(d), I, Christopher C. Taub, Chief Deputy

       Attorney General for the State of Maine, hereby certify that on this, the 11th day of

       December, 2024, I filed the above brief electronically via the ECF system. I

       further certify that on this, the 11thday of December, 2024, I served the above brief

       electronically on the following party, who is an ECF Filer, via the Notice of

       Docket Activity:

                • James B. Haddow
                  jhaddow@pmhlegal.com

                • Adele Keim
                  akeim@becketlaw.org

                • Mark L. Rienzi
                  mrienzi@becketlaw.org

                • Benjamin Fleshman
                  bfleshman@becketlaw.org

                • Michael Joseph O'Brien
                  mobrien@becketlaw.org

                                                     s/ Christopher C. Taub
                                                     Christopher C. Taub
                                                     Chief Deputy Attorney General
                                                     Christopher.C.Taub@maine.gov
                                                     Bar No. 65217
                                                     Six State House Station
                                                     Augusta, Maine 04333-0006
                                                     (207) 626-8800


                                                 7
